1            IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
2                     EASTERN DIVISION
     ____________________________________________________
3
     MARQUIS TILMAN,            )
4                               )
           Plaintiff,           )
5                               )
     VS.                        )NO.2:20-CV-10-KS-MTP
6                               )
     CLARKE COUNTY, et al,      )
7                               )
           Defendant.           )
 8   ____________________________________________________
 9
10
11                         DEPOSITION
12
13                             OF
14
15                      ANTHONY CHANCELOR
16
                       SEPTEMBER 30, 2021
17
18
19
20
21
22
                 ALPHA REPORTING CORPORATION
23                    236 Adams Avenue
                      Memphis, TN 38103
24                      901-523-8974
                   www.alphareporting.com
25

                                                 Page 1

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                  B       A Veritext Company    www.veritext.com
1            The deposition of ANTHONY CHANCELOR, taken
2    on this, the 30th day of September 2021, on behalf
3    of the Plaintiff, pursuant to notice and consent of
4    counsel, beginning at approximately 11:00 a.m. via
5    Zoom video conference.
6            This deposition is taken pursuant to the
7    terms and provisions of the Federal Rules of Civil
8    Procedure.
9            All forms and formalities, excluding the
10   signature of the witness, are waived, and objections
11   alone as to matters of competency, irrelevancy and
12   immateriality of the testimony are reserved to be
13   presented and disposed of at or before the hearing.
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                                                 Page 2

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1
                    A P P E A R A N C E S
2
3
     FOR THE PLAINTIFF:    CARLOS E. MOORE, ESQ.
4                          THE COCHRAN FIRM
                           306 Branscome Drive
5                          Grenada, Mississippi 38902
6
7
8
9
     FOR THE DEFENDANTS: JESSICA MALONE, ESQ.
10                       ALLEN ALLEN BREELAND & ALLEN
                         214 Justice Street
11                       Brookhaven, Mississippi 39602
12
13
14
15
16
     COURT REPORTING FIRM:
17
                           ALPHA REPORTING CORPORATION
18                         Andrea C. Myers, CSR
                           236 Adams Avenue
19                         Memphis, Tennessee 38103
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1                      ANTHONY CHANCELOR,
2    having first been duly sworn, was examined and
3    testified as follows:
4
                            EXAMINATION
5
6    BY MR. MOORE:
7        Q.   My name is Carlos Moore.            I represent
8    Marquis Tilman in this lawsuit.             I will be asking
9    you questions on behalf of Mr. Tilman this morning.
10       Have you given a deposition before?
11       A.   I have not.    I have not.
12       Q.   Okay.   I'll give you the ground rules.
13   Continue to answer verbally so Andrea can get down
14   everything correctly.      When I'm talking I'm going to
15   ask that you not talk over me and when you're
16   talking I'll not talk over you.             Can we have that
17   agreement?
18       A.   Yes, sir.
19       Q.   If you need to take a break let me know and
20   we will allow you to take a break.             If there's a
21   pending question I'll ask that you answer that
22   question before taking a break.
23       A.   Yes, sir.
24       Q.   I have a tendency to talk fast.            If you
25   don't understand me let me know and I will we repeat

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1    or rephrase the question.        Okay?
2        A.    Yes.
3        Q.    I will assume you understood the question if
4    in fact you answer it.       Is that fair enough?
5        A.    Yes, sir.    Excuse me.      I've got a little bit
6    of a cough.      I had COVID about a three weeks ago.
7    That cough is hanging in there with me for whatever
8    reason.
9        Q.    I'm glad we are doing this virtually.
10       A.    Yes, sir.    I'm clear now.
11       Q.    State your name.
12       A.    Anthony Chancelor.
13       Q.    Have you ever gone by any other name or
14   alias?
15       A.    No, sir.
16       Q.    All right.    What is your address?
17       A.                    , Enterprise, Mississippi
18   39330.
19       Q.    How long you lived at that address?
20       A.    I've actually lived at that address about
21   seven months.      It's a rental right now.
22       Q.    All right.    Does anyone live there with you?
23       A.    They do.
24       Q.    Who lives with you?
25       A.    My wife and my children.

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1        Q.   What's your wife's name?
2        A.   Mallory.
3        Q.   What's her last name?
4        A.   Chancelor.
5        Q.   Maiden name?
6        A.   Todd.
7        Q.   How long have y'all been married?
8        A.   For three years.
9        Q.   Do you have any adult children?
10       A.   I do not.
11       Q.   Okay.     How many children do you have?
12       A.   Five.
13       Q.   Five children in three years?
14       A.   Well, it's hers, mine and ours.
15       Q.   Okay.     All right.        What is your date of
16   birth?
17       A.                 .
18       Q.   How old are you?
19       A.   35.
20       Q.   What's your phone number?
21       A.                     .
22       Q.   What county is Enterprise in?
23       A.   Clarke.
24       Q.   Do you have other relatives in Clarke County
25   or south Mississippi besides your wife and children?

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1        A.   I do.
2        Q.   Tell me about that.         Who are your parents?
3        A.   Tony and Kim Chancelor.            They also live in
4    Enterprise.
5        Q.   Okay.     Those are your parents that live in
6    Enterprise.      What about siblings?
7        A.   I have a brother and sister who live in
8    Quitman which is also in Clarke County.
9        Q.   What are their names?
10       A.   Ansel is my brother and Madeline Miller is
11   my sister.
12       Q.   Who is Madeline married to?
13       A.   Jason Miller.
14       Q.   Where is Jason from?
15       A.   Quitman.
16       Q.   Okay.     Is your brother married?
17       A.   He is.
18       Q.   What is wife's name?
19       A.   Jessica.
20       Q.   Jessica Chancelor?
21       A.   Yes, sir.
22       Q.   All right.     Any adult nieces and nephews?
23       A.   No, sir.
24       Q.   Any living grandparents?
25       A.   I do.

                                                           Page 8

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1        Q.    All right.   In the south Mississippi area?
2        A.    Clarke County.
3        Q.    Give me those names.
4        A.    Clovis Chancelor.      That is my father's
5    mother evidently.
6        Q.    All right.   So your paternal grandmother?
7        A.    Paternal grandmother, yes, sir.
8        Q.    Go ahead.
9        A.    No more grandparents.
10       Q.    Any great grandparents that are living?
11       A.    No, sir.
12       Q.    You got aunts and uncles?
13       A.    Yes, sir.
14       Q.    All right.   Give me their last name or their
15   surnames.
16       A.    I've got Joey Chancelor, lives in Clarke
17   County.     Clay Chancelor lives in Clarke County.
18   You just want everybody in Clarke County?
19       Q.    South Mississippi and the surrounding area.
20       A.    South Mississippi.      Okay.
21       Q.    Just give me the last names.      Chancelor and
22   what else?
23       A.    Chancelor.
24       Q.    Okay.   What is your --
25       A.    Those are the only ones on my dad's side --

                                                       Page 9

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1    on my dad's side that live here.               My mother -- I
2    don't have any aunts and uncles on my mother's side.
3        Q.     What's your mother's maiden name?
4        A.     Cooper.
5        Q.     Do your in-laws live in that general area?
6        A.     They do not.
7        Q.     Where is your wife from?
8        A.     Lauderdale County.
9        Q.     All right.     So Lauderdale County is still in
10   south Mississippi.        Are her folks in Lauderdale
11   County?
12       A.     They are in Kemper County actually is where
13   they live, one county north.
14       Q.     That's still going to be in possible jury
15   voir dire.     Her last name was Todd?
16       A.     Todd.
17       Q.     What her mother's last name?
18       A.     Todd.
19       Q.     Her mother was a Todd before she got
20   married?
21       A.     I thought you meant currently.            Her
22   mother -- my mind just went blank.               That's bad.
23   Clark.     I'm sorry.     Clark.     She was a Clark.         I had
24   that think about that a minute.
25       Q.     All right.     So Todds and Clarks would be in

                                                                Page 10

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1    your in-laws in the southern Mississippi area.            Can
2    you think of any other last names?
3        A.     Martins.
4        Q.     Okay.
5        A.     I'm kin to Martins.        Basically Martins and
6    Chancelors, those would be the main.
7        Q.     Okay.     I got it.   Have you ever been
8    convicted of any crime?
9        A.     No, sir.
10       Q.     Have you ever been arrested?
11       A.     No, sir.
12       Q.     Have you ever been sued before?
13       A.     No, sir.
14       Q.     Have you ever been married prior to being
15   married to Mallory?
16       A.     I have.
17       Q.     How many times?
18       A.     Once.
19       Q.     Who was the lucky lady?
20       A.     Her name is Emily Stevens.
21       Q.     All right.     What did she go by when she was
22   married?
23       A.     Emily Chancelor.
24       Q.     What is her maiden name?
25       A.     Stevens.

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1        Q.     How long were you married?
2        A.     Eight years.
3        Q.     Any children with her?
4        A.     Two.
5        Q.     Okay.   Where does she reside now?
6        A.     In Enterprise, Clarke County.
7        Q.     All right.     Did you divorce her or did she
8    divorce you?
9        A.     I divorced her.
10       Q.     Okay.   Have you ever sued anyone else?
11       A.     I have not.
12       Q.     Have you ever been sued prior to this
13   lawsuit?
14       A.     No, sir.
15       Q.     All right.     Or afterward?
16       A.     No, sir.     I've never been sued.
17       Q.     Have you ever filed bankruptcy?
18       A.     No, sir.
19       Q.     Worker's comp claim?
20       A.     Sir?
21       Q.     Have you ever filed a worker's compensation
22   claim?
23       A.     No, sir.
24       Q.     What high school did you graduate from?
25       A.     Enterprise.

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1        Q.   What year?
2        A.   2004.
3        Q.   Did you play any sports in high school?
4        A.   I did.
5        Q.   Okay.    What did you play?
6        A.   Basketball and golf.
7        Q.   All right.     Did you go to college?
8        A.   Some.    I'm actually still in college
9    actually.
10       Q.   Which college did you go to?
11       A.   Meridian Community College.
12       Q.   Still there?
13       A.   I am.
14       Q.   What's your major?
15       A.   Right now I'm just trying to do a university
16   transfer.   It's liberal arts.
17       Q.   Where are you planning to go?
18       A.   Mississippi State.        It's across the street.
19   It's a State branch.
20       Q.   Okay.    What documents, if any, did you
21   review in preparation for today's deposition?
22       A.   My statement.
23       Q.   All right.     Anything else?
24       A.   No, sir.
25       Q.   Who, if anyone, did you speak with in

                                                       Page 13

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1    preparation for today's deposition besides your
2    lawyer?
3        A.    That's it.
4        Q.    Do you have any military experience?
5        A.    No, sir.
6        Q.    Did you go to the law enforcement academy?
7        A.    I did.
8        Q.    Tell me about that.
9        A.    I went to the Mississippi Law Enforcement
10   Officers Training Academy in Jackson.
11       Q.    In?
12       A.    2007.
13       Q.    Did you successfully complete that?
14       A.    Yes, sir.
15       Q.    Tell me about every law enforcement job
16   you've since you left the academy.
17       A.    We may be here for a while.       I worked for
18   the sheriff here in Clarke County.
19       Q.    Clarke County sheriff?
20       A.    Yes, sir.    I worked for the Mississippi
21   Highway Patrol.
22       Q.    Okay.
23       A.    And the sheriff.       Those are my law
24   enforcement career.
25       Q.    Who are you working for now?

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1        A.     The Mississippi Highway Patrol, the
2    Department of Public Safety.
3        Q.     What's your position?
4        A.     I do governmental affairs.          I work in
5    Jackson.
6        Q.     How did you get that position?
7        A.     I got lucky.
8        Q.     How long have you had it?
9        A.     One year.
10       Q.     Who appointed you?
11       A.     Colonel Randy Higgin.
12       Q.     Okay.   What was your first position with
13   highway patrol?
14       A.     Trooper.
15       Q.     How long were you a trooper?
16       A.     I served as a road trooper for about 11
17   years before I got this position.
18       Q.     Okay.   How long were you with Clarke County
19   Sheriff's Department?
20       A.     Total of about probably three and a half to
21   four clear years collectively.
22       Q.     What year were you with sheriff's
23   department?
24       A.     I was with the sheriff's office right out of
25   high school in 2004 as a 9-1-1 operator.             I was with

                                                           Page 15

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1    the sheriff's office as a deputy in 2006 prior to
2    going to highway patrol -- highway patrol school
3    then.    And then in 2014 I went back to work for the
4    sheriff's office.       I'm sorry.      This is a lot to try
5    to -- I mean, it is what it is.
6        I went to back to work for the sheriff's office
7    for two years.       Then I went to highway patrol again
8    for a little while up until 2018 and I come back to
9    the sheriff's office for a year.             And then I had an
10   opportunity at the highway patrol to eventually get
11   the position I'm in and I went back to the patrol.
12   I know that's convoluted.         I apologize.       It is what
13   it is.
14       Q.    So you were working for the sheriff's
15   department on the date of this incident with
16   Mr. Tilman on 3/21/19?
17       A.    I was working for the sheriff's office
18   whenever the incident took place.             Yes.
19       Q.    Okay.   Have you ever been fired from a job?
20       A.    No, sir.
21       Q.    Have you ever been forced to resign?
22       A.    No, sir.
23       Q.    Have you ever been disciplined on the job?
24       A.    Yes, sir.
25       Q.    Tell me about that.

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1        A.   Well, one night I was on call for the
2    highway patrol and my cell phone quit working in the
3    middle of the night, like, it got out of service
4    inside my house.     They called me out to a wreck and
5    I couldn't -- I didn't get the call and another
6    trooper had to go.     I was disciplined for that.
7        Q.   What kind of discipline did you get?
8        A.   I got a write-up.
9        Q.   How did that make you feel?
10       A.   You know, it was my fault.         It was my fault.
11   So it is what it is.      There's got to be checks and
12   balances.
13       Q.   When was that write-up given?
14       A.   About 2012 maybe.
15       Q.   Did that have any reason for you leaving the
16   highway patrol at some point?
17       A.   Sir?
18       Q.   Did that have any part of you leaving the
19   highway patrol at some point?
20       A.   No, sir.
21       Q.   Any other write-up or disciplinary action on
22   any other job?
23       A.   No, sir.    No, sir.
24       Q.   Any other post secondary education besides
25   Meridian Community College and the law enforcement

                                                        Page 17

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1    academy?
2        A.     No, sir.
3        Q.     You said no military service?
4        A.     Yes, sir, no military service.
5        Q.     What was your last rank with the Clarke
6    County Sheriff's Department?
7        A.     Just deputy.
8        Q.     What were your job duties as a sheriff's
9    deputy?
10       A.     Answer calls for service, just the patrol
11   the county.
12       Q.     Serve papers?
13       A.     We did serve some papers, yes, sir.
14       Q.     Were you a sworn officer?
15       A.     Yes, sir.
16       Q.     Who did you report to?
17       A.     Chief Deputy Barry White.
18       Q.     Anyone else?
19       A.     No, sir.
20       Q.     Did you supervise anyone?
21       A.     No, sir.
22       Q.     Okay.   Have you ever been accused of
23   excessive force?
24       A.     No, sir.
25       Q.     Besides this one case?

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1        A.   Yes, sir.
2        Q.   Have you ever been the subject of any
3    internal affair investigation?
4        A.   No, sir.
5        Q.   Do black lives matter?
6        A.   Yes, sir.
7        Q.   Have you ever used the "N" word?
8        A.   No, sir.
9        Q.   When I say the "N" word you know what I'm
10   talking about?
11       A.   Yes, sir.
12       Q.   You're certain you never used it?
13       A.   Yes, sir, I'm certain.
14       Q.   Okay.   I appreciate your certainty because
15   some of your colleagues are not certain.         Have you
16   ever been a member of any racially exclusive group?
17       A.   No, sir.
18       Q.   Do you have any black friends?
19       A.   I do.
20       Q.   How many do you have?
21       A.   Many.   I have no idea.      A bunch.   Several.
22   I mean --
23       Q.   Tell me their names.
24       A.   Sure.   Charles Haynes, I eat lunch with him
25   at least three or four times a week.

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1        Q.     Where does Charles work?
2        A.     He works at MBI.
3        Q.     MBI?
4        A.     Yes.
5        Q.     Okay.   Any other black friends that come
6    mind?
7        A.     Bo Lewis; Tessa Harris; Marvin Henderson, me
8    and him actually shared an apartment, me and him
9    lived together.
10       Q.     Who does he work for?
11       A.     He works for MBI.
12       Q.     I think I've dealt with him before.
13       A.     He's a good dude.
14       Q.     Tessa Harris, who is that?
15       A.     She is out of Smith County, Smith County.
16   She actually is an associate of some of my family.
17       Q.     Okay.   And Bo Lewis?
18       A.     Bo Lewis.
19       Q.     He is out of Jackson or where?
20       A.     He's out of Jackson.      He lives around
21   Jackson.
22       Q.     He's MBI, too?
23       A.     Yes, sir.   Gary Kelly, he works here at the
24   sheriff's office, I consider him to be a friend of
25   mine.

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1        Q.   Do black friends ever visit in your home?
2        A.   Roy -- (inaudible) -- I forgot about him.
3    Lord, we've hung out on a couple of different
4    occasions.
5        Q.   Do you know Marquis Tilman?
6        A.   I do.
7        Q.   How do you know him?
8        A.   Just from here in the county.
9        Q.   Okay.    What kind of interactions did you
10   have with him before 3/21/19?
11       A.   I don't recall.     I was actually trying to
12   rack my remember trying to remember what dealings I
13   personally have had with him, just in and out, you
14   know, around the county.
15       Q.   All right.    Do you have any knowledge of
16   pursuit of him on 3/21/19 by sheriff's deputies?
17       A.   In March of 2019, yes, sir, we were in
18   pursuit with him.
19       Q.   Did you do a statement or report?
20       A.   I did.
21       Q.   Of those interactions?        I'm going to show
22   you a document and can you tell me if this is your
23   signature?
24       A.   Yes, sir, it is.
25       Q.   Is it dated 3/21/19?

                                                       Page 21

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1           A.     It is.     It is.
2           Q.     All right.     This is your statement you did
3    in reference to the incident?
4           A.     Yes, sir.
5           Q.     All right.     We are going to mark that as
6    Exhibit 1 to his deposition.              That will be Anthony
7    Chancelor's statement.
8           (WHEREUPON, THE ABOVE-REFERENCED DOCUMENT WAS
9    MARKED AS EXHIBIT NO. 1 TO THE DEPOSITION AND WAS
10   RETAINED BY COUNSEL.)
11   BY MR. MOORE:
12          Q.     Who asked you to write this report?
13          A.     Nobody.     I just took it upon myself to.
14          Q.     All right.     You just write like that?
15          A.     Sir?
16          Q.     You just write like that -- smart like that?
17          A.     I mean, I wouldn't call it smart.        I'm just
18   trying to be responsible when it comes to taking
19   care of your business.
20          Q.     Okay.     It says 1730.     So is that 5:30 p.m.?
21          A.     5:30, yes.     1730 is 5:30, yes, sir.
22          Q.     What time did the chase take place?
23          A.     What time did the chase take place?        Earlier
24   that day but I know that I apparently left the time
25   off.        When it says look at the top -- the time it

                                                            Page 22

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1    says approximately and I left the time off.             I
2    remember it being earlier that day around school
3    traffic time or just prior to.
4        Q.    The morning traffic or afternoon traffic of
5    school?
6        A.    Afternoon traffic.
7        Q.    All right.   So that would've been sometime
8    between 2:00 and 3:00?
9        A.    Yes, sir, in that time frame.
10       Q.    Okay.   Tell me in your own words what you
11   recall in relation to the incident or Marquis Tilman
12   or anything involving him on 3/21/19.
13       A.    Agent Ivy initiated the pursuit with him,
14   left the city of Quitman.        I joined in the pursuit
15   probably just shy of Highway 514 on 45.           The
16   gentleman -- the high points, he hit my vehicle, run
17   me off the road, went back south.           Then we got
18   going, I rammed his vehicle, Ben rammed his vehicle
19   and then I shot his front right tire out to make
20   sure he didn't go anywhere.         And he dove out of the
21   vehicle and then we got him in handcuffs he went to
22   jail.
23       Q.    How did he get out of the vehicle?
24       A.    Just head first.     He was head first.
25       Q.    Okay.   And what portion of his body hit the

                                                         Page 23

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1    ground?
2        A.    Maybe his -- like this area.
3        Q.    Torso?     Chest?
4        A.    I would say so, yes.
5        Q.    Where did his hands go?
6        A.    Directly underneath, towards the center,
7    like, underneath like this.
8        Q.    And did you see anything in his hands?
9        A.    Did not, could not see his hands at the
10   time.
11       Q.    What happened next?
12       A.    He tensed up.       Of course, he didn't -- just
13   not wanting to get in handcuffs.             And then myself
14   and Billy Lewis -- which he was kind of -- he was
15   facing opposite of the highway, facing towards --
16   like toward the tree line I guess you would say.                 So
17   I would've been on his -- on this side of him, on
18   his left and Billy would've been on his right.              He
19   was able to get his hands out from under him and I
20   believe Justin Ross actually got him in handcuffs.
21       Q.    And was he assaulted by any other deputies
22   before he was put in handcuffs?
23       A.    No, sir.
24       Q.    Was he assaulted after he was put in
25   handcuffs?

                                                           Page 24

                               Alpha Reporting               800-556-8974
                             A Veritext Company            www.veritext.com
1        A.   No, sir.
2        Q.   Isn't it true that he was stomped?
3        A.   No, sir.
4        Q.   Hit?
5        A.   No, sir.
6        Q.   Punched?
7        A.   No.
8        Q.   Kneed?
9        A.   Sir?
10       Q.   Kneed?
11       A.   No, sir.
12       Q.   Repeatedly causing severe injuries to his
13   face, eyes, chest?
14       A.   No, sir.
15       Q.   Did any of that happen?
16       A.   No, sir, it did not happen.
17       Q.   You think he just made it up?
18       A.   I beg your pardon.
19       Q.   You think Mr. Tilman made all of this up?
20       A.   Yes.
21       Q.   Why do you think he made it up?
22       A.   Because he doesn't like us.
23       Q.   Okay.    Did he make up Sheriff Kemp going on
24   the audio, radio saying beat his ass?
25       A.   No.

                                                   Page 25

                             Alpha Reporting         800-556-8974
                           A Veritext Company      www.veritext.com
1        Q.     Did you hear that over the radio?
2        A.     I did.
3        Q.     Okay.    So we know he can tell some of the
4    truth, correct?
5        A.     Well, someone would've had to told him that.
6    I don't know how he would have heard it.
7        Q.     I didn't say he heard it.          I said it's a
8    fact that Sheriff Kemp said it over the radio?                You
9    can't deny that, can you?
10       A.     No, no, no.
11       Q.     He said shut it down and beat his ass,
12   didn't he?
13       A.     Yes.
14       Q.     That's what y'all did, beat his ass?
15       A.     No.
16       Q.     You disobeyed a command of your superior
17   officer?
18       A.     I did.
19       Q.     Were you trained to do that?
20       A.     No.
21       Q.     Why didn't you beat his ass?
22       A.     That's not the right thing to do.
23       Q.     How do you know it was not the right thing
24   to do?
25       A.     Because I was raised better than that.

                                                           Page 26

                                Alpha Reporting              800-556-8974
                              A Veritext Company           www.veritext.com
1           Q.   Okay.   And the person that paid you told you
2    to do something and you refused to do it?
3           A.   Do what now?
4           Q.   The person that paid you at that time told
5    you to do something and you refused to do it?
6           A.   If it's not the correct thing to do, then
7    no.
8           Q.   Did you have a fear of being terminated?
9           A.   No, sir.
10          Q.   Why didn't you fear being terminated?
11          A.   I just did not.
12          Q.   Okay.   Did you feel you could find another
13   job?
14          A.   I guess so.
15          Q.   Did he say with a stern vice or was he
16   joking or was he serious?            How did he tell you to
17   beat this man's ass?
18          A.   I mean, he had a stern voice on the radio
19   but it was in the heat of the moment I'm sure.             I
20   mean, this guy has done run me off the road with his
21   vehicle.      You know, it was kind of getting serious.
22   So I'm sure he was just -- it was in the heat of the
23   moment I guess.
24          Q.   Even after he ran you off the road you did
25   not say beat his ass, did you?

                                                          Page 27

                                  Alpha Reporting           800-556-8974
                                A Veritext Company        www.veritext.com
1        A.   Huh-huh (negative response).
2        Q.   You were better than that, correct?
3        A.   I wouldn't say I'm better than that.         Maybe
4    I could control my temper maybe.          I don't know.
5        Q.   And anybody -- (inaudible) -- should be able
6    to control their temper, correct?
7        A.   Yes, sir.
8        Q.   Because you have other people following you
9    potentially?
10       A.   Yes, sir.
11       Q.   Some of those people could have been
12   impressionable, some people in their 20s that were
13   on the force and under the command of the sheriff
14   that may have been impressionable and may have taken
15   that command literally, correct?
16       A.   Yes, sir.
17       Q.   That would have been a travesty, correct?
18       A.   Yes, sir.
19       Q.   Do you know no one took it seriously and
20   beat his ass based on the command?
21       A.   Yes, I know that.
22       Q.   How do you know that?
23       A.   Because I was there.
24       Q.   For that entire time?
25       A.   Yes, sir.

                                                        Page 28

                            Alpha Reporting               800-556-8974
                          A Veritext Company            www.veritext.com
1        Q.    For that entire time?
2        A.    Yes.
3        Q.    Did you get any licks?
4        A.    No, sir.
5        Q.    You did not?
6        A.    No, sir.
7        Q.    Why not?
8        A.    Because he didn't need it.
9        Q.    Did you have a body camera on?
10       A.    I did not.
11       Q.    Were there any cameras in the vehicles?
12       A.    No, sir.
13       Q.    All right.     Did this man require any kind of
14   paramedic treatment or hospital treatment after his
15   interaction with law enforcement?
16       A.    I do not recall.
17       Q.    Do you remember how he looked after he was
18   put in handcuffs?
19       A.    No, sir, I do not.
20       Q.    Was anything wrong with your eyes?
21       A.    No, sir.
22       Q.    All right.     So why don't you remember how he
23   looked?
24       A.    I mean, what do you mean?           What part of him
25   are you talking about?

                                                           Page 29

                                Alpha Reporting              800-556-8974
                              A Veritext Company           www.veritext.com
1        Q.     Any portion of his body.         Did he appear
2    injured?
3        A.     Seems like something was wrong with his leg
4    or something because he had been in a wreck.            He had
5    been a wreck in the city of -- (inaudible) -- I
6    think prior to, like, a week before this happened I
7    think.
8        Q.     What about his face?      What about his face?
9        A.     I don't recall.    I don't remember anything
10   about his face.
11       Q.     What about his breathing?
12       A.     He said he was kind of having trouble
13   breathing but, I mean, of course we was able to get
14   him set up straight and handcuffed, you know.
15       Q.     Do you know why he had trouble breathing?
16       A.     He might have been upset I mean because he
17   had been in three vehicle accidents in about 10
18   minutes.
19       Q.     Or he might have just had his ass beat and
20   was out of breath, correct?
21       A.     No, sir.
22       Q.     Did anybody put their weight on his back
23   while he was on the ground?
24       A.     No, sir.
25       Q.     You didn't see that?

                                                          Page 30

                              Alpha Reporting               800-556-8974
                            A Veritext Company            www.veritext.com
1        A.     No, sir.
2        Q.     Okay.     One of your colleagues said somebody
3    put their weight on his back -- Billy Lewis put his
4    weight on his back to try to get him to remove his
5    hands from near his waist so he could put him in
6    handcuffs.        Did you see that?
7        A.     I don't recall his Billy having his knee in
8    his back.     He had it on his shoulder.
9        Q.     All right.     Well, a shoulder is in the back,
10   correct?
11       A.     His shoulder is not his back.          I consider it
12   being the center right here.
13       Q.     Are you a doctor?
14       A.     I'm not.     Maybe that's why I consider this
15   to be his shoulder.
16       Q.     The shoulder is in the back of his -- the
17   shoulder is in the back, correct?             He was laying
18   face first on the ground?
19       A.     Yes, sir.
20       Q.     So he --
21       A.     Billy Lewis had his weight on some of his
22   shoulder.
23       Q.     On this back of his shoulder, correct?
24       A.     Yes.
25       Q.     Okay.     Let's make sure we have a clear

                                                           Page 31

                                Alpha Reporting              800-556-8974
                              A Veritext Company           www.veritext.com
1    understanding because you are under oath, correct?
2           A.   Yes, sir.    Yes, sir.
3           Q.   And how much does Billy weigh approximately?
4           A.   I have no idea.
5           Q.   Billy is not the lightest man out there, is
6    he?
7           A.   No, sir, he's not.
8           Q.   And he was bigger than Mr. Tilman, was he
9    not?
10          A.   I believe so, yes, sir.
11          Q.   All right.    Are you familiar with the George
12   Floyd case?
13          A.   Yes, I am.
14          Q.   Where a man died from a police officer
15   putting his weight on a portion of his neck -- on
16   the back of his neck?         You saw that?
17          A.   Yes.
18          Q.   He told them he couldn't breathe, he didn't
19   lift up.      The man died after nine seconds.
20   Mr. Tilman could have died from Billy putting his
21   weight on the back of his shoulders, correct?
22          A.   I'm sorry?
23          Q.   Had he not let up in time this man could
24   have died, correct?
25          A.   No.

                                                      Page 32

                                Alpha Reporting         800-556-8974
                              A Veritext Company      www.veritext.com
1        Q.   You don't think he could have?
2        A.   No.
3        Q.   After he released pressure, said he was out
4    of breath, couldn't breathe, you don't think in
5    that -- (inaudible) -- Mr. Tilman would have died?
6        A.   I mean, I guess he could have, you know, but
7    that's not what happened.       So we followed the right
8    procedure.     Whenever he said I'm having trouble, I
9    was, like, hey, let's put him up.
10       Q.   What was the purpose of him being on his
11   back in the first place?
12       A.   He wasn't on his back.        He was on his front.
13       Q.   On the back of his shoulders.        What was the
14   purpose of Billy Lewis putting weight on the back of
15   his shoulders?
16       A.   He was trying to get up and we was -- and
17   keep his hands in front of him, you know, toward his
18   waistband.     We was trying to getting his hands and
19   arms back.     Once we got his arms back behind his
20   back and Justin got him in handcuffs then we just we
21   sat him on up.
22       Q.   Y'all start waylaying him then after you put
23   him handcuffs?
24       A.   Started what?
25       Q.   Waylaying him?

                                                       Page 33

                             Alpha Reporting             800-556-8974
                           A Veritext Company          www.veritext.com
1        A.   No, no.     Nobody waylayed anybody.
2        Q.   You understand what waylay means?
3        A.   Well, I can remember that term as a kid.
4        Q.   Okay.     All right.     So you believe he made
5    that portion up about the beating after being in
6    handcuffs?
7        A.   Yes.
8        Q.   Was the beating before handcuffs took place?
9        A.   No.
10       Q.   So you're saying there was no beating?
11       A.   There was no beating.
12       Q.   The only pressure came from Billy Lewis
13   being on the back of his shoulders?
14       A.   Yes.
15       Q.   Nobody punched him, stomped him, kicked him?
16       A.   No, sir.
17       Q.   How did his mouth get injured?
18       A.   I don't recall.        Probably because I
19   wrecked -- let me walk through that part.            First he
20   hit me with his vehicle.         He hit me and run me off
21   the road.      I was able to regain control.     Then once
22   we started going back southbound then I rammed him
23   with my vehicle to stop him and he was unrestrained
24   this entire time.      And once he ended up on the
25   shoulder he started to try to go again and Agent Ivy

                                                          Page 34

                              Alpha Reporting               800-556-8974
                            A Veritext Company            www.veritext.com
1    hit him with a Dodge pickup in the driver door.
2        Keep in mind, he's unrestrained the entire time.
3    When I come around the front, remember he was almost
4    in the center and his head was up toward the -- by
5    the windshield, like, up towards the windshield.
6    And I mean, he bounced around inside of that car
7    like a pinball I would say.
8        Q.   Do you think it's more believable he may
9    have hurt his lip by the wrecks or --
10       A.   Yes, sir.
11       Q.   You can't say for certain how he hurt his
12   lip, can you?
13       A.   I know he was not beaten.          I can you tell
14   you he was not beaten by anybody prior to handcuffs,
15   post handcuffs or anything of that matter.
16       Q.   But the sheriff did tell y'all to beat him?
17       A.   He did.
18       Q.   All right.    So we're going to believe that
19   y'all didn't obey the sheriff?
20       A.   We did not.     I mean --
21       Q.   Why should the jury believe you didn't obey
22   the sheriff?
23       A.   I don't know.     I can't answer that question
24   but it didn't happen.
25       Q.   You know Mississippi's history with racism,

                                                         Page 35

                              Alpha Reporting              800-556-8974
                            A Veritext Company           www.veritext.com
1    don't you?
2        A.    I do.
3        Q.    Why should anybody believe these white
4    officers did not beat this black man at the order of
5    a sheriff?
6        A.    I mean, we try to obtain -- I mean, we know
7    right from wrong.       And think about this, he got on
8    the radio and said it.       There's already going to
9    be -- I mean, God, the sheriff said that on the
10   radio.    So, I mean, you already know it's coming
11   down the pipe.       We have frivolous things come up all
12   over the place much less when the sheriff gets on
13   the radio and says do it.         We already knew there
14   would be eyes on this.
15       And he didn't need it that day.          He didn't
16   warrant it.       Of course, it was aggravating, you
17   know.    I mean, he run me off the road, this and this
18   but he did not -- it didn't warrant that.
19       Q.    He never struck you with his hand?
20       A.    No.
21       Q.    Never tried to shoot you?
22       A.    No.     Well, if he could have got his hands on
23   that gun in the floorboard I believe he might have
24   would have tried something because he was reaching
25   the entire time.

                                                        Page 36

                               Alpha Reporting            800-556-8974
                             A Veritext Company         www.veritext.com
1        Q.    He never pointed a gun at you, did he?
2        A.    He did not.
3        Q.    Okay.     We want to talk about facts, not what
4    could've, should've, would've, what actually did
5    happen?
6        A.    Yes, sir.
7        Q.    You didn't have a black eye?
8        A.    No.
9        Q.    Bloody nose?
10       A.    No, sir.
11       Q.    Any scrapes?
12       A.    No, sir.
13       Q.    You went home safely to your wife?
14       A.    I did.
15       Q.    Your family?      This man had to have a
16   hospital visit, correct?
17       A.    I don't recall.
18       Q.    Were you under the influence of any drugs or
19   alcohol that would affect your memory that night?
20       A.    No, sir.
21       Q.    Why don't you recall a lot of things?
22       A.    Do what now?
23       Q.    You're 35 years of age.             What's wrong with
24   your memory?       You told me several times you don't
25   recall several things.

                                                             Page 37

                                Alpha Reporting                800-556-8974
                              A Veritext Company             www.veritext.com
1        A.    I don't recall.
2        Q.    You don't recall what's wrong with you?
3        A.    I don't recall.
4              MS. MALONE:     I think you're
5    mischaracterizing the testimony.             I am going to
6    object.    You have not laid any foundation or asked
7    him if he had any personal knowledge about whether
8    medical personnel were called to the scene.
9              I think you're mischaracterizing the
10   testimony.       I'm going to object.
11   BY MR. MOORE:
12       Q.    You said you were there the entire time?
13       A.    Yes, sir.
14       Q.    Did you see any medical personnel or
15   ambulance personnel arrive on the scene?
16       A.    No, sir.
17       Q.    Did you ever learn of him going to the
18   hospital after this incident?
19       A.    I don't recall.      I honestly did not have
20   that conversation with anybody.
21       Q.    Did you ever speak with the sheriff, Sheriff
22   Kemp, about his statement over the radio?
23       A.    I did not.
24       Q.    Why?
25       A.    Because I just did not.

                                                           Page 38

                               Alpha Reporting               800-556-8974
                             A Veritext Company            www.veritext.com
1        Q.   You're used to that type of thing
2    transpiring?
3        A.   No, sir.
4        Q.   But yet instead you didn't talk to the
5    sheriff to see what was going on in his head?
6        A.   No, sir.
7        Q.   Do you think the sheriff was off his rocker?
8        A.   No, sir.
9        Q.   It was normal?
10       A.   Do what now?
11       Q.   You thought it was perfectly normal?
12       A.   At that individual spot, probably not.
13       Q.   Were you shocked when you heard the words
14   come over the radio?
15       A.   Yes, sir, I was.
16       Q.   How did you respond?
17       A.   Well, I was driving 100 miles an hour.            I
18   was focused on your client reaching for a gun in the
19   passenger floorboard.       I didn't put much thought
20   into that.     My job at that point was to stop him
21   from creating a danger to us as well as the motoring
22   public being also the school traffic that was about
23   to leave Quitman school district.            That's what my
24   goal was.    My goal that day was to stop him from
25   harming me, my colleagues, the motoring public and

                                                          Page 39

                               Alpha Reporting              800-556-8974
                             A Veritext Company           www.veritext.com
1    to apprehend him safely and that is exactly what we
2    did.
3           Q.    That's the same thing the sheriff told you
4    to do, shut him down and beat his ass?
5           A.    We did not beat his ass but we did shut him
6    down.       And if I had to do it over with again I would
7    do the exact same thing over again.
8           Q.    All right.
9           A.    I would disobey the order that the sheriff
10   gave but I would shut him down just like we did.             I
11   stand behind it.
12          Q.    Do you regret the sheriff made that comment
13   about beating his ass?
14          A.    I do.
15          Q.    -- (inaudible) -- sheriff made that comment?
16          A.    I do.   I agree.    I agree with you 100
17   percent, counselor.
18          Q.    With Mississippi's sorted history I don't
19   know if you're going to find a jury that's going to
20   believe y'all didn't beat his ass at the sheriff's
21   command.       Do you?
22          A.    I cannot answer that question, sir.        We all
23   you never know what a jury may or may not do.
24          Q.    You never know.     We never, never know.
25          What do you do as an affairs person for the

                                                        Page 40

                                 Alpha Reporting          800-556-8974
                               A Veritext Company       www.veritext.com
1    highway patrol?
2        A.   I'm a liaison between the Department of
3    Public Safety and the legislature.
4        Q.   What qualifies you for that position?
5        A.   I'm a people person I guess and my
6    experience in law enforcement.         I don't mind talking
7    to people.
8        Q.   All right.    You have the gift of gab?
9        A.   Yes, sir.
10       Q.   If that's a gift.
11       A.   That's a gift.    I consider that a
12   compliment, sir.
13       Q.   Okay.    When the legislature is not in
14   session what are you doing?
15       A.   We assist any legislator in anything they
16   have going on and we have -- whatever the
17   commissioner of public safety needs us to do, it
18   could be a variety of things, just never can tell.
19       Q.   You have one of those good jobs?
20       A.   I do.    I do have a good job, yes, sir.
21       Q.   All right.    Have all your answers been
22   truthful?
23       A.   Yes, sir, they have.
24       Q.   Is there anything you're dying to tell me
25   that I did not ask you?

                                                       Page 41

                             Alpha Reporting             800-556-8974
                           A Veritext Company          www.veritext.com
1        A.     No, sir.
2               MR. MOORE:     I tender the witness.
3               MS. MALONE:     I have no questions for this
4    witness.     Thank you.
5        (AND FURTHER DEPONENT SAITH NOT; SIGNATURE NOT
6    WAIVED.)
7        (WHEREUPON, THE DEPOSITION WAS CONCLUDED AT
8    11:42 A.M.)
9
10
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19
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21
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25

                                                       Page 42

                                Alpha Reporting          800-556-8974
                              A Veritext Company       www.veritext.com
1                   C E R T I F I C A T E
2
     STATE OF MISSISSIPPI:
3
     COUNTY OF UNION:
4
               I, ANDREA C. MYERS, CCR, Board Certified
5    Court Reporter, in and for the State of Mississippi,
     do hereby certify that the above deposition was
6    reported by me, and the transcript is a true and
     accurate record to the best of my knowledge, skills,
7    and ability.
8
             I further certify that I am not related to
9    nor an employee of counsel or any of the parties to
     the action, nor am I in any way financially
10   interested in the outcome.
11           I further certify that I am duly licensed by
     the Mississippi Board of Court Reporters as a
12   Licensed Court Reporter as evidenced by the CCR
     number and expiration date following my name below.
13
             I further certify that this transcript is
14   the work product of this court reporting agency and
     any reproduction and/or transfer of it is
15   unauthorized.
16
17
18                           <%26634,Signature%>
                             ANDREA C. MYERS, CCR #1834
19                           Expiration Date 12-31-2021
                             236 Adams Avenue
20                           Memphis, Tennessee 38103
21
22
23
24
25

                                                 Page 43

                           Alpha Reporting         800-556-8974
                         A Veritext Company      www.veritext.com
1                         CHANGES AND SIGNATURE

                       TO THE ORAL DEPOSITION OF

2                               <WITNESS NAME>

                               Volume 1 of 1

3                                  <DATE>

4    PAGE      LINE   CHANGE                REASON

5    ___________________________________________________________

6    ___________________________________________________________

7    ___________________________________________________________

8    ___________________________________________________________

9    ___________________________________________________________

10   ___________________________________________________________

11   ___________________________________________________________

12   ___________________________________________________________

13   ___________________________________________________________

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16   ___________________________________________________________

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21   ___________________________________________________________

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23   ___________________________________________________________

24   ___________________________________________________________

25   4810408

                                                        Page 44

                                 Alpha Reporting         800-556-8974
                               A Veritext Company      www.veritext.com
1         I,               , have read the foregoing
2    deposition and hereby affix my signature that same is
3    true and correct, except as noted above.
4
5                              __________________________
                               <WITNESS NAME>
6    STATE OF ___________)
     COUNTY OF __________)
7
          Before me, __________________________, on this
8    day personally appeared <WITNESS NAME>, known
     to me (or proved to me under oath or through ________
9    (description of identity card or other document) to be
     the person whose name is subscribed to the foregoing
10   instrument and acknowledged to me that they executed
     the same for the purposes and consideration therein
11   expressed.
          (Seal) Given under my hand and seal of office
12   this _______ day of ____________, ________.
13
14
                               _____________________________
15                             Notary Public in and for the
                               State of ______________
16
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                                                 Page 45

                          Alpha Reporting          800-556-8974
                        A Veritext Company       www.veritext.com
1    jmalone@aabalegal.com
2                              October 21, 2021
3    RE: Tilman, Marquis v. Clarke County, Et Al.
4    DEPOSITION OF: Anthony Chancelor (# 4810408)
5         The above-referenced witness transcript is
6    available for read and sign.
7         Within the applicable timeframe, the witness
8    should read the testimony to verify its accuracy. If
9    there are any changes, the witness should note those
10   on the attached Errata Sheet.
11        The witness should sign and notarize the
12   attached Errata pages and return to Veritext at
13   errata-tx@veritext.com.
14        According to applicable rules or agreements, if
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